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      5                                UNITED STATES DISTRICT COURT
      6                        FOR THE EASTERN DISTRICT OF CALIFORNIA
      7                                           FRESNO DIVISION
      8
          UNITED STATES OF AMERICA,                          )   Case No.: 08-00224 (OWW)
      9                                                      )
                          Plaintiff,                         )   ORDER CONTINUING THE
     10                                                      )
                 vs.                                             SEPTEMBER 28, 2009
                                                             )
     11                                                      )   SENTENCING HEARING
          REYNALDO SOTELO,                                   )
     12                                                      )
                          Defendant                          )
     13                                                      )
     14
                  Based on the Stipulation of the Parties,
     15
     16           IT IS HEREBY ORDERED that the sentencing hearing scheduled for September 28,

     17   2009, at 9:00 a.m., is continued to November 16, 2009, at 9:00 a.m.
     18
                  IT IS SO ORDERED.
     19
          Dated: September 16, 2009                               /s/ OLIVER W. WANGER
     20                                                           OLIVER W. WANGER
     21                                                           UNITED STATES DISTRICT JUDGE

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          Stipulation and [Proposed] Order Continuing
          The September 28, 2009, Sentencing Hearing                                         Page 1



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